        2:15-cv-02136-CSB-EIL # 229           Page 1 of 2                                              E-FILED
                                                                      Sunday, 19 August, 2018 10:09:08 AM
                                                                              Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF ILLINOIS, URBANA DIVISION

                                 )
HYE-YOUNG PARK, a/k/a LISA PARK, )
                                 )
      Plaintiff,                 )
                                 )
      v.                         ) Case No.:15-cv-2136
                                 )
MICHAL T. HUDSON, individually,  )
HEIDI JOHNSON, individually,     )
CHARLES SECOLSKY, individually,  )
ROBERT STAKE, individually,      )
and THE BOARD OF TRUSTEES OF THE )
UNIVERSITY OF ILLINOIS,          )
                                 )
      Defendants.                )
                                 )

 PLAINTIFF’S MOTION FOR LEAVE TO FILE HER SECOND MOTION IN LIMINE


       NOW COMES the Plaintiff, HYE-YOUNG PARK (“Park”), by her attorney, M. Dennis

Mickunas, and for her Motion for Leave to File Her Second in Limine states as follows.

                                          ARGUMENT

       In its minute order of May 31, 2018, the court ordered that all motions in limine be filed

by June 29, 2018. In its minute order of July 27, 2018, the court ordered that Defendant CHARLES

SECOLSKY (“Secolsky”) provide his PowerPoint presentation to Plaintiff’s counsel by August

16, 2018. Plaintiff filed her objections to said PowerPoint presentation on August 17, 2018 (ECF

# 228). In his PowerPoint presentation, it became clear for the first time that Secolsky intends to

accuse Park of racism in the presence of the jury. Such an accusation would be false, irrelevant,

and unfairly prejudicial to Park, and would create a substantial injustice to Park. Accordingly,

Park respectfully requests leave to file her Second Motion in Limine, attached hereto as an Exhibit.
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                                         CONCLUSION

       Wherefore, for the above stated reasons, Plaintiff, HYE-YOUNG PAK hereby requests

that this court grant her leave to file her Second Motion in Limine instanter.



Dated: August 19, 2018                        Respectfully submitted,



                                              HYE-YOUNG PARK
                                      By:    s/ Marshall Dennis Mickunas______________
                                              M. Dennis Mickunas
                                              ARDC # 6293386
                                              312 Yankee Ridge Lane
                                              Urbana, IL 61802
                                              Phone: 217-328-4000
                                              dennis@mickunas-law.com


                                CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to all

parties involved in the case who are entitled to notice and who are CM/ECF participants. I also

hereby certify that I have mailed by United States Postal Service the above- referenced document

to the following non-CM/ECF participants:

       Charles Secolsky, Days Inn,
       914 W. Bloomington Road,
       Room 103,
       Champaign, IL 61821.

                                              By: s/ Marshall Dennis Mickunas______________
                                              Plaintiff’s Attorney
                                              M. Dennis Mickunas
                                              ARDC # 6293386
                                              312 Yankee Ridge Ln
                                              Urbana, IL 61802
                                              Phone: 217-328-4000
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